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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:14CR155

       vs.
                                                                          ORDER
CEDJI RODRIGUEZ,

                      Defendant.


       Defendant Cedji Rodriguez appeared before the court on Moday, December 21, 2015 on
a Petition for Warrant or Summons for Offender Under Supervision [334]. The defendant was
represented by Assistant Federal Public Defender Richard H. McWilliams, and the United States
was represented by Assistant U.S. Attorney Matthew R. Molsen. The government did not
request detention, therefore, the Defendant was not entitled to a preliminary examination. The
defendant was released on current terms and conditions of supervision.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Senior Judge Bataillon.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Senior Judge Bataillon in
Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska, on February 3, 2016 at 1:30 p.m. Defendant must be present in person.
       2.      The defendant is released on current conditions of supervision.




       Dated this 21st day of December, 2015

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
